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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MICHAEL DARDASHTIAN, individually : 17 Civ. 4327 (LLS) (JCF)
and on behalf of COOPER SQUARE !
VENTURES, LLC, NDAP, LLC, and : ORDER

CHANNEL REPLY, LLC,

 

 

Plaintiff,
- against -
DAVID GITMAN, JEREMY FALK, SUMMIT ; USDS SDNY
ROCK HOLDINGS, LLC, ACCEL COMMERCE, : DOCUMENT
LLC, DALVA VENTURES, LLC, : ELECTRONICALLY FILED

KONSTANTYN BAGAEV, OLESKSII
, DOC #: __

 

 

 

GLUKHAREV, and CHANNEL REPLY, ]
INC., ; DATE FILED: L(Y / (04D _

Defendants.

JAMES C. FRANCIS IV
UNITED STATES MAGISTRATE JUDGE

Pretrial conferences having been held by telephone on October
2 and October 6, 2017, it is hereby ORDERED as follows:

1. Plaintiff’s motion for a preliminary injunction is
consolidated with an expedited trial on the merits. The temporary
injunction previously entered shall remain in full force and effect
pending trial.

2. The following schedule shall govern preparation for trial
and shall be triggered by the date upon which the Court decides
the pending motion to dismiss (the “Trigger Date”):

a. Within one week after the Trigger Date, David Gitman
and any related entities shall file any counterclaims;

b. The parties shall issue written requests for
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documents and interrogatories within 30 days after the Trigger
Date;

c. The parties shall provide written responses and
objections to requests for document production and interrogatories
within 30 days of receipt of the written requests;

d. Document production pursuant to an _ e-discovery
protocol shall take place within 60 days of receipt of the written
responses and objections to requests for document production;

e. Fact witness depositions shall be completed within 60
days thereafter;

f. Expert reports shall be exchanged within 30 days of
the completion of fact discovery;

g. Expert depositions shall be completed within 30 days
of the exchange of expert reports;

h. The parties shall file any dispositive motions within
30 days of the completion of expert discovery;

i. The joint pretrial order, prepared in conformity with
Judge Stanton’s Individual Rules, shall be submitted within 30
days after decision on dispositive motions.

3. Atrial date shall be scheduled 60 days after decision

on dispositive motions.
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SO ORDERED.

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JAMES C. FRANCIS IV
UNITED STATES MAGISTRATE JUDGE

 

Dated: New York, New York
October 10, 2017

Copies transmitted this date:

Barry S. Guaglardi, Esq.

Arturi, D’Argenio & Guaglardi, LLP
365 West Passaic St.

Rochelle Park, NJ 07662

Brian S. Cousin, Esq.
Lindsay F. Ditlow, Esq.
Mark D. Meredith, Esq.
Dentons US LLP

1221 Avenue of the Americas
New York, NY 10020

Edward P. Gilbert, Esq.
Joaquin J. Ezcurra, Esq.
Morrison Cohen, LLP

909 Third Ave.

New York, NY 10022
